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JEFFREY BOSSERT CLARK
Acting Assistant Attorney General
BILLY J. WILLIAMS
United States Attorney
ALEXANDER K. HAAS
Director, Federal Programs Branch
BRIGHAM J. BOWEN
Assistant Director, Federal Programs Branch
JEFFREY A. HALL (DC 1019264)
Counsel, Civil Division
JORDAN VON BOKERN
KERI BERMAN
JASON LYNCH
Trial Attorneys
U.S. Department of Justice
Civil Division
950 Pennsylvania Ave. NW
Washington, D.C. 20530
Tel.: (202) 353-8679
Fax: (202) 616-8470

Attorneys for Defendants


                              UNITED STATES DISTRICT COURT
                                   DISTRICT OF OREGON
                                   PORTLAND DIVISION



WESTERN STATES CENTER, INC, et al.,                Case No. 3:20-cv-01175-JR

                                                   DEFENDANTS’ MOTION TO
                Plaintiffs,                        STAY DISCOVERY PENDING
                                                   RESOLUTION OF THEIR
                                                   MOTION TO DISMISS
       v.

UNITED STATES DEPARTMENT OF
HOMELAND SECURITY, et al.,

                Defendants.




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                                       L.R. 7-1 Certification

        Defendants certify that their counsel have conferred in good faith with counsel for

Plaintiffs but were unable to resolve the issues raised by this motion.

                               MOTION TO STAY DISCOVERY

        Because resolution of Defendants’ Motion to Dismiss, Dkt. No. 72, may result in

dismissal of the First Amended Complaint or in a reduction of the scope of the parties or claims

at issue, this Court should stay discovery to preserve the parties’ resources and avoid

unnecessary and inefficient proceedings.

        The Court has broad discretion to stay discovery while a motion to dismiss is pending.

See Clinton v. Jones, 520 U.S. 681, 706–07 (1997) (“The District Court has broad discretion to

stay proceedings as an incident to its power to control its own docket.”). The Ninth Circuit has

expressly blessed the practice of staying discovery while considering a potentially dispositive

motion. Little v. City of Seattle, 863 F.2d 681, 685 (9th Cir. 1988) (upholding a stay of discovery

until after resolving a claim of immunity). Such a stay “furthers the goal of efficiency for the

court and litigants.” Id.

        It is common practice for district courts within this circuit to stay or otherwise limit

discovery while considering a motion that may resolve the issue on which discovery is sought.

See, e.g., Ahern Rentals, Inc. v. EquipmentShare.com, Inc., No. 2:19-cv-1788, 2020 WL

2216944, at *2–3 (E.D. Cal. May 7, 2020); Quezambra v. United Domestic Workers of Am.

AFSCME Local 3930, No. 8:19-cv-927, 2019 WL 8108745, at *2 (C.D. Cal. Nov. 14, 2019);

Driscoll’s, Inc. v. Cal. Berry Cultivars, LLC, No. 2:19-cv-493, 2019 WL 4822413, at *1 (E.D.

Cal. Oct. 1, 2019); Com. & Indus. Ins. Co. v. Durofix, Inc., No. 16-cv-00111, 2018 WL 8332535,

at *2 (D. Haw. May 30, 2018); Williams v. Grant Cnty., No. 2:15-CV-01760-SU, 2017 WL


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3671166, at *1 (D. Or. Aug. 25, 2017) (“Plaintiff was not required to respond immediately to the

discovery requests because the Court had stayed discovery pending defendants’ Motion to

Dismiss for Failure to State a Claim.”); Ireland v. Bend Neurological Assocs. LLC, No. 6:16-cv-

02054-JR, 2017 WL 11571782, at *2 (D. Or. May 8, 2017) (fact that a motion to dismiss

“appears to be well-taken, at least in part,” “supports staying discovery, as there is a ‘reasonable

possibility’ that the pending Motions to Dismiss, if granted, would affect the content of

plaintiff’s amended complaint, if any, and subsequent scope of discovery” (citing Bell Atl. Corp.

v. Twombly, 550 U.S. 544, 558 (2007))); Ciuffitelli v. Deloitte & Touche LLP, 2016 WL

6963039, at *4 (D. Or. Nov. 28, 2016)); United States v. Ctr. for Diagnostic Imaging, Inc., No.

05-cv-0058, 2010 WL 11682231, at *2 (W.D. Wash. Dec. 16, 2010); Buckman v. Quantum

Energy Partners IV, LP, No. 07-cv-1471-BR, 2008 WL 2235234, at *3 (D. Or. May 29, 2008).

The ability of this Court to stay discovery while handling a dispositive motion is thus well

settled.1

        Staying discovery here is especially appropriate because Defendants raise numerous

arguments that are likely to shrink the scope of the case and the relevant discovery. Defendants

argue that Plaintiffs lack standing to seek any prospective remedy, in addition to arguing that the

pleadings are insufficient to state a claim on the merits. See Al Fayed v. CIA, 229 F.3d 272, 276

(D.C. Cir. 2000) (recognizing that “[t]he district court must have jurisdiction . . . before the

discovery rules become operative”). To the extent that any Plaintiff or claim is dismissed—




1
  Even where courts in this district have not stayed discovery entirely, they have sometimes
allowed discovery to proceed on only jurisdictional issues, such as standing. E.g., Morris v.
Zusman, 857 F. Supp. 2d 1082, 1089 (D. Or. 2012).

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which is likely for at least some of the claims given the Court’s order on the preliminary

injunction, Dkt. No. 50—the scope of relevant discovery would shrink accordingly.

       A stay of discovery is also appropriate because the Court denied a preliminary injunction

based on Plaintiffs’ Tenth Amendment claim (finding that it was not likely to succeed on the

merits), Dkt. No. 50, and has since vacated the preliminary injunction based on Plaintiffs’ free

speech claims, see Dkt. No. 69. Thus, at present, there is no claim on which Plaintiffs are likely

to succeed and from which they stand to suffer irreparable injury. A stay of discovery, while the

Parties litigate the Motion to Dismiss, would not prejudice Plaintiffs.

       Finally, discovery would place a substantial burden on federal law enforcement agencies,

reducing the resources available to focus on other issues that implicate public safety and national

security. Staying discovery would reduce potentially needless use of resources and conflict

during the pendency of the Motion to Dismiss, not just for the parties but also for the Court,

which may be called upon to mediate discovery disputes.

       Accordingly, this Court should order that all discovery be stayed during the pendency of

Defendants’ Motion to Dismiss.




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Dated: December 4, 2020                   Respectfully submitted,

                                          JEFFREY BOSSERT CLARK
                                          Acting Assistant Attorney General

                                          BILLY J. WILLIAMS
                                          United States Attorney

                                          ALEXANDER K. HAAS
                                          Director, Federal Programs Branch

                                          BRIGHAM J. BOWEN
                                          Assistant Branch Director

                                          /s/ Jeffrey A. Hall
                                          JEFFREY A. HALL (DC 1019264)
                                          Counsel, Civil Division
                                          JORDAN VON BOKERN
                                          KERI BERMAN
                                          JASON LYNCH
                                          Trial Attorneys
                                          United States Department of Justice
                                          Civil Division
                                          950 Pennsylvania Ave. NW
                                          Washington, DC 20530
                                          Tel: (202) 353-8679
                                          Email: jeffrey.a.hall@usdoj.gov

                                          Attorneys for Defendants




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